Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 1 of 39




           EXHIBIT "A"
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 2 of 39
                                                                                       9/30/2016 2:07:56 PM
                                                                                                           Velva L. Price
                                                                                                          District Clerk
                                                                                                          Travis County
                               CAUSE NO.         D-1-GN-16-004967                                      D-1-GN-16-004967
                                                                                                        Kirby Hernandez
TIM & AMY MINTNER                                                        IN THE DISTRICT COURT

                  Plaintiff

V.                                                                        TRAVIS COUNTY, TEXAS


LIBERTY MUTUAL INSURANCE
CORPORATION
                                                                       419th       Jun/ k_IAL DISTRICT

                   Defendant



                PLAINTIFF TIM & AMY MINTNER'S ORICli':AL PETITION



TO THE HONORABLE JUDGE OF SAID COURT.

         COMES NOW, Tim & Amy Mintner, (here'n,:tter referred to as "Plaintiff'), complaining of

Liberty Mutual Insurance Corporation, (hereinafter -1 .1red to as "Defendant") and for cause of action would

respectfully show unto this Honorable Court an' fury as follows:


                                    DISCI.:WERY CONTROL PLAN

1. Plaintiff intends for discovery to be conducted under Level 2 of Texas Rule of Civil Procedure 190.3 and

     affirmatively pleads that tl. suit is not governed by the expedited-actions process of Texas Rule of Civil

     Procedure 169 becl:tim.,, Plaintiff seeks monetary relief of over $100,000.


                                                   PARTIES

2. Plaintiff is an individual residing in Travis County, Texas.

3. Liberty Mutual Insurance Corporation is a (foreign) insurance company engaging in the business of

     insurance in the State of Texas. Defendant may be served with process by serving its registered agent of




Plaintiff Tim &Ang Mintner's Otiginal Petition                                                        Page I 1
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 3 of 39




    service, (Corporation Service Company), located at the following address: (211 East 7th Street Suite 620,


    Austin TX 78701 -3218).


                                                 JURISDICTION

4. The Court has jurisdiction over this cause of action because the amount in controversy is within the


    jurisdictional limits of the Court.


5. The Court has jurisdiction over Defendant Liberty Mutual Insurance Corporation because Defendant is a


    (foreign) insurance company that engages in the business of insurance in he State of Texas and Plaintiff's


    causes of action arise out of Defendant's business activities in 1-1 ii State of Texas. Specifically, Liberty


    Mutual Insurance Corporation sought out and marketed             insurance in Texas and has "purposefully


    availed" itself of the privilege of conducting activitie tit Texas. Kelly v. General Interior Constr., Inc.,


    301 S.W.3d 653, 660-61 (Tex. 2010).


                                                    VENUE

6. Venue is proper in Travis County,         its, because the Property is situated in Travis County, Texas. TEX.


    CIV. PRAC. & REM. CODE


                                                    FACTS

7. Plaintiff purchased a p,)licy from Defendant Liberty Mutual Insurance Corporation, (hereinafter referred


    to as "the Polk v' ), which was in effect at the time of loss.


8. The Policy was purchased to insure Plaintiff's property, (hereinafter referred to as "the Property"), which


    is located at 12000 Mira Mesa, Austin, Texas 78732.


9. Defendant Liberty Mutual Insurance Corporation and/or its agent sold the Policy insuring the Property to


    Plaintiff.


Plaintiff Tim &Any Mintner's Original Petition                                                         Page    2
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 4 of 39




10. Plaintiff is a "consumer" as defined under the Texas Deceptive Trade Practices Act ("DTPA") because


    they is an individual who sought or acquired by purchase or lease, goods or services, for commercial,


    personal or household use.


11. On or about April 27, 2016, Plaintiff experienced a severe weather related event which caused substantial


    damage to the Property and surrounding homes and businesses in the area. Ti. Property's damage


    constitutes a covered loss under the Policy issued by Defendant Liberty Mutual Insurance Corporation.


    Plaintiff subsequently opened a claim on April 27,2016 and Deictuant Liberty Mutual Insurance


    Corporation assigned an adjuster to adjust the claim.


12. Thereafter, Defendant Liberty Mutual Insurance Corporatt -I wrongfully underpaid Plaintiff's claim and


    refused to issue a full and fair payment for the cover .,(1 loss as was rightfully owed under the Policy.


13. Defendant made numerous errors in estimating the value of Plaintiff's claim, as exhibited by its assigned


    adjuster's method of investigation and estimation of Plaintiff's loss, all of which were designed to


    intentionally minimize and undermy the loss incurred by Plaintiff. Defendant's assigned adjuster failed


    to fully quantify Plaintiff's cc t red losses, thus demonstrating that Defendant's assigned adjuster did not


    conduct a thorough in. zt, ,tigation of Plaintiff's claim and/or intentionally adjusted Plaintiff's claim


    improperly.


14. Specifically, T . 'efendant, independently and through its assigned adjuster, intentionally and knowingly


    conducted a substandard investigation of the Property. This is evidenced by Defendant's assigned


    adjuster's estimate, which failed to include all necessary items Plaintiff is entitled to under the Policy to


    place the Property in a pre-loss condition. These necessary items are covered and required under the



Plaintiff Tim &Any Milliner's Original Petition                                                         Page I 3
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 5 of 39




     International Building Code and/or International Residential Code, as adopted by the State of Texas in


     2001.


15. In addition, the Occupational Safety and Health Administration ("OSHA") dictates, when working on


     buildings with "unprotected sides and edges" that "each employee on a walking/working surface


     (horizontal and vertical surface) with an unprotected side or edge which is 6 feet    m) or more above a


     lower level   sitar, be protected from falling by the use of guardrail systems, safety net systems, or
     personal fall arrest systems." Occupational Safety and Health Act of 1,970 § 1926.501(b)(1) (emphasis


    added). This protection was intentionally not included or reflec., ; within the scope of work provided by


    Defendant for Plaintiff's damages to the Property as an a L        to further deny Plaintiff benefits owed


    under the Policy.


16. Defendant's estimate therefore grossly undervalued and did not allow for adequate funds to cover the cost


    of repairs and therefore grossly undervalued all of the damages sustained to the Property. As a result of


    Defendant's conduct, Plaintiff's cla. Ili was intentionally and knowingly underpaid.


17. Defendant's assigned adjuster acted as an authorized agent of Defendant Liberty Mutual Insurance


    Corporation. Defendant'6 assigned adjuster acted within the course and scope of their authority as


    authorized by D. tadant Liberty Mutual Insurance Corporation. Plaintiff relied on Defendant and


    Defendant',, c.,igned adjuster to properly adjust the claim regarding the Property and to be issued payment


    to fix such damage, which did not happen and has not been rectified to date.


18. Defendant Liberty Mutual Insurance Corporation failed to perform its contractual duties to adequately


    compensate Plaintiff under the terms of the Policy. Specifically, Defendant refused to pay the full



Plaintiff Tim &Ang Mintner's Original Petition                                                        Page 14
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 6 of 39




    proceeds owed under the Policy. Due demand was made by Sovereign Adjusting Services for proceeds to


    be in an amount sufficient to cover the damaged Property. All conditions precedent to recovery under the


    Policy had, and have, been carried out and accomplished by Plaintiff. Defendant Liberty Mutual Insurance


    Corporation's conduct constitutes a breach of the insurance contract between Defendant and Plaintiff.


19. Defendant and/or Defendant's assigned agent sold the Policy to Plaintiff, making v::rious statements and


    representations to Plaintiff that the Property would be covered. RPlyiilg on the promises and


    representations made by Defendant and/or Defendant's assigned agei..+ Plaintiff filed a claim under the


    Policy with the belief that the Property would be covered after a    , ere weather event such as the one that


    damaged the Property.


20. Defendant misrepresented to Plaintiff that the dama).,9 to the Property was not covered under the Policy,


    even though the damage was caused by a covered and named peril under the Policy. Defendant's conduct


    constitutes a violation of the Texas InsurInce Code, for Unfair Settlement Practices for "misrepresenting


    to a claimant a material fact or poli-v provision relating to the coverage at issue[.]" TEX. INS. CODE §


    541.060(a)(1).


21. Defendant failed to main, an attempt to settle Plaintiff's claim in a prompt, fair and equitable manner.


    Because of the ol. 7ious damage to the Property, Defendant was reasonably clear its liability to Plaintiff.


    Defendant's ,aduct constitutes a violation of the Texas Insurance Code, for Unfair Settlement Practices.


    TEX. INS. CODE § 541.060(a)(2)(A).


22. Defendant failed to explain to Plaintiff the reasons for its offer of an inadequate settlement. Specifically,


    Defendant failed to offer Plaintiff adequate compensation, without any reasonable explanation for why



Plaintiff Tim &Any Mintner's Original Petition                                                          Page   I   5
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 7 of 39




    full payment was not being made. Furthermore, Defendant did not communicate that any future


    settlements or payments would be forthcoming to pay for the entire loss covered under the Policy, nor did


    Defendant provide any explanation for the failure to adequately settle Plaintiff's claim. Defendant's


    conduct constitutes a violation of the Texas Insurance Code, for Unfair Settlement Practices for "failing


    to promptly provide to a policyholder a reasonable explanation of the basis in the r          for the insurer's


    denial of a claim or offer of a compromise settlement of a claim[.]" TEX. INS. CODE § 541.060(a)(3).


23. Defendant failed to affirm or deny coverage of Plaintiff's claim withi:i a reasonable time. Specifically,


    Plaintiff did not receive timely indication of acceptance or rejef,    a, regarding the full and entire claim,


    in writing within fifteen (15) days from Defendant. Defei:lant's conduct constitutes a violation of the


    Texas Insurance Code, for Unfair Settlement Practic -s and Notice of Acceptance or Rejection of Claim.


    TEX. INS. CODE §§ 541.060(a)(4), 542.056(a),


24. Under the terms of the Policy, Defen(lont refused to fully compensate Plaintiff, by knowingly and


    intentionally conducting an unre9: ()liable investigation. Specifically, Defendant performed a results-


    oriented investigation of Plair ci:T s claim, which resulted in a biased, unfair and inequitable evaluation of


    Plaintiff's loss to the Pr9Lerty. Defendant's conduct constitutes a violation of the Texas Insurance Code,


    Unfair Settlement -.1.actices. TEX. INS. CODE § 541.060(a)(7).


25. Defendant 1_31..qty Mutual Insurance Corporation failed to meet its obligations under the Texas Insurance


    Code to acknowledge the receipt, begin an investigation, and request all information reasonably necessary


    to investigate Plaintiff's claim within fifteen (15) days of receiving notice of Plaintiff's claim. Defendant's




Plaintiff Tim &Amy Mintner's Original Petition                                                           Page    6
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 8 of 39




    conduct constitutes a violation of the Texas Insurance Code, Receipt of Notice of Claim. TEX. INS.

    CODE § 542.055(a)(1)-(3).

26. Defendant failed to accept or deny Plaintiff's full and entire claim, within 15 days, even after receiving

    all necessary information provided by Plaintiff and Sovereign Adjusting Services. Defendant's conduct

    constitutes a violation of the Texas Insurance Code, Notice of Acceptance or RejcLtion of Claim. TEX.

    INS. CODE § 542.056.

27. Defendant failed to meet its obligation under the Texas Insurance C.,ae regarding payment of claims

    without delay. Defendant regused to issue payment within the ni dated period of five (5) days. To date,

    Plaintiff has not yet received full payment for their claim, ven though Defendant's liability is without

    question. Defendant's conduct constitutes a violatio., ,,f the Texas Insurance Code, Prompt Payment of

    Claims. TEX. INS. CODE § 541.057.

28. From and after the time Plaintiff's claim was presented to Defendant Liberty Mutual Insurance

    Corporation, the liability of Defend grit to pay the full claim in accordance with the terms of the Policy

    was more than reasonably el: a - However, Defendant has refused to pay Plaintiff in full, despite there

   being no basis whatsoevt..r on which a reasonable insurance company would have relied on to deny full

   payment. Defend, )L's conduct constitutes a breach of the common law duty of good faith and fair dealing.

    See Wes v, s....Guilty National Ins. Co., 788 S.W.2d 556, 567 (Tex. 1990) (holding that an insurer has a

   duty to its insureds to "investigate claims thoroughly and in good faith" and an insurer can only deny a

   claim after a thorough investigation shows that there is a reasonable basis to deny that claim).




Plaintiff Tim &Amy          Original Petition                                                         Page 17
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 9 of 39




29. Defendant knowingly and recklessly made false representations to Plaintiff, as described above, as to


    material facts and/or knowingly concealed material information from Plaintiff.


30. Defendant knowingly and purposefully made several misrepresentations about the Policy issued to


    Plaintiff, Defendant's conduct constitutes violations of the Texas Insurance Code, Misrepresentation


    Regarding Policy or Insurer and Misrepresentation of Insurance Policy. T2X. INS. CODE §§


    541.051(1)(A), 541.061(1)(3).


31. As a result of Defendant's wrongful acts and omissions, Plaintiff Wat.2. forced to retain the professional


    services of McClenny Moseley & Associates, who is representii, ,z Plaintiff with respect to these causes of


    action.


32. Due to the reckless and/or negligent and/or intent ,i,z-11 misrepresentations of the Defendant, Plaintiff


    believed they had no other option but to hire an attorney, seek new insurance coverage and/or attempt and


    fail to fix the Property.


33. Each and every one of the representulons, as described above, concerned material facts, and absent such


    representations, Plaintiff won' (i not have acted as they did.


34. Each and every one of 11,-.:1 representations, as described above, was made by the Defendant recklessly


    and/or negligently without any knowledge of its truth and as a positive assertion.


35. As a result of Defendant's errors and/or omissions and/or other misrepresentations, Plaintiff has been


    severely underpaid and their reliance upon those errors, omissions and misrepresentations have been to


    Plaintiff's detriment.




Plaintiff Tim 'Amy Mintner's On:ginal Petition                                                       Page I $
     Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 10 of 39




36. At all times relevant, Plaintiff was and is a consumer for purposes of the Texas Deceptive Trade Practices

    — Consumer Protection Act ("DTPA").

37. Plaintiff's experience is not an isolated case. The acts and omissions of Defendant Liberty Mutual

    Insurance Corporation committed in this case, or in similar cases, occur with such frequency that they

    constitute a general business practice of Defendant with regard to handling ,:-„se types of claims.

    Defendant Liberty Mutual Insurance Corporation's entire process is unfairly designed to reach favorable

    outcomes for the company at the expense of the policyholder. Due to tnese continuous, systematic, and

    concerted actions to defraud, manipulate and deny policy b, ,:fits to Plaintiff and other insureds,

    Defendant should be punished.


                                      CONDITIONS } ECEDENT

38. All conditions precedent to recovery by Plaintift l-ave been met or have occurred.


                                                 AGENCY

39. All acts by Defendant Liberty Mut, Nr Insurance Corporation were undertaken and completed by its

    officers, agents, servants, empkTees, and/or representatives. All such acts were either done with the full

    authorization or ratificatioi. of Defendant Liberty Mutual Insurance Corporation and/or were completed

    in its normal and r   ilie course and scope of employment.

40. Defendant a-2,i Defendant's assigned adjuster's conduct constitutes multiple violations of the Texas

    Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this

    subsection are made actionable by TEX. INS. CODE § 541.151.




Plaintiff Tim &Amy           Original Petition                                                       Page 19
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 11 of 39




41. Defendant is liable for the unfair and deceptive acts of its assigned adjuster because he/she meets the

    definition of a "person" as defined by the Texas Insurance Code. The term "person" is defined as "any

    individual, corporation, association, partnership, reciprocal or inter insurance exchange, Lloyds plan,

    fraternal benefit society, or other legal entity engaged in the business of insurance, including an agent,

    broker, adjuster or life and health insurance counselor." Tex.Ins.Code §541.002(2(emphasis added). See

    also Liberty Mutual Ins. Co. v. Garrison Contractors, Inc. 966 S.W.2d 48?, 484 (Tex. 1998) (holding an

    insurance company employee to be a person for the purpose of bringin a cause of action against them

    under the Texas Insurance Code and subjecting them to individi,,n liability).

42. Plaintiff hereby incorporates by reference all facts and          cumstances set forth under the foregoing

    paragraphs.


                                                  NEGLIGENCE

43. Plaintiff entrusted Defendant to properly Ajust Plaintiff's insurance claim for the Property damage.

    Defendant did not properly adjust t          claim and misinformed Plaintiff of the severity of the Property

    damage. Defendant had and              a duty to ensure that the Property damage was properly adjusted.

    Nevertheless, Defendan, failed to ensure that Plaintiff's damage was properly adjusted. This failure is a

    clear breach of Dr::-iidant's duty, and as a result, Plaintiff suffered significant injuries.

44. Defendant I mrty Mutual Insurance Corporation and its assigned adjuster had and owed a legal duty to

    Plaintiff to properly adjust all losses associated with the Property. Defendant, individually and through

    its assigned adjuster, breached this duty in a number of ways, including, but not limited to, the following:




Plaintiff Tim &Amy Mintner's Original Petition                                                        Page 110
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 12 of 39




                  A. Defendant, individually and through its assigned adjuster, was to exercise due care in


                      adjusting and paying policy proceeds regarding the Property;


                  B. Defendant, individually and through its assigned adjuster, had a duty to competently and


                      completely handle and pay all covered losses associated with the Property;


                  C. Defendant, individually and through its assigned adjuster, failed t(, properly complete all


                      adjusting activities associated with Plaintiff's damages; and


                  D. Defendant's acts, omissions, and/or breaches, indo,'(wally and through its assigned


                      adjuster, did great damage to Plaintiff, and were proximate cause of Plaintiff's damages.


                                       BREACH OF CON1:1ACT

45. Plaintiff hereby incorporates by reference all facts vid circumstances set forth under the foregoing


    paragraphs.


46. Defendant Liberty Mutual Insurance Cormation's conduct constitutes a breach of the insurance contract


    made between Defendant Liberty Mu ial Insurance Corporation and Plaintiff.


47. According to the Policy, whic1-.   aintiff purchased, Defendant Liberty Mutual Insurance Corporation had


    the absolute duty to invr-ligate Plaintiff's damages, and pay Plaintiff policy benefits for the claims made


    due to the extensi-v.• storm-related damages.


48. As a result of Lhe storm-related event, Plaintiff suffered extreme weather related damages.


49. Despite objective evidence of weather related damages provided by Plaintiff and their representatives,


    Defendant Liberty Mutual Insurance Corporation breached its contractual obligations under the Policy by


    failing to pay Plaintiff cost related benefits to properly repair the Property, as well as for related losses




Plaintiff Tim &Avg Milliner's Or/p.=1Petition                                                         Page I 11
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 13 of 39




    associated with the subject loss event. As a result of this breach, Plaintiff has suffered additional actual

    and consequential damages.


               VIOLATIONS OF THE TEXAS DECEPTIVE PRACTICES ACT
                              & TIE-IN-STATUTES

50, Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.

51. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or practices that

    constitute violations of the Texas Deceptive Trade Practices Act ("DT:*A"), which is codified in the Texas

    Business and Commerce Code ("TEX. BUS. & COM. CODE") including but not limited to:

                  A. Representing that an agreement confers 9) involves rights, remedies, or obligations which

                      it does not have or involve, or wh;c;). are prohibited by law (TEX. BUS. & COM. CODE

                      § 17.46(b)(12));

                  B. Misrepresenting the ata;:ority of a salesman, representative, or agent to negotiate the final

                      terms of a consuma transaction (TEX. BUS. & COM. CODE § 17.46(b)(14));

                  C. Failing to c close information concerning goods or services which were known at the

                      time Li the transaction, and the failure to disclose such infothiation was intended to

                        duce the consumer into a transaction into which the consumer would not have entered

                      had such information been disclosed (TEX. BUS. & COM. CODE § 17.46(b)(24));

                  D. Using or employing an act or practice in violation of the Texas Insurance Code (TEX.

                      BUS. & COM. CODE § 17.50(a)(4));




Plaintiff Tim &Am) Minmer's Original Petition                                                          Page 112
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 14 of 39




                    E. Unreasonably delaying the investigation, adjustment, settlement offer and prompt

                        resolution of Plaintiff's claim (TEX. INS. CODE § 541.060(a)(2)-(5));

                    F. Failure to properly investigate Plaintiff's claim (TEX. INS. CODE § 541.060(7)); and/or

                    G. Hiring and relying upon a biased adjuster, in this case Defendant's assigned adjuster, to

                        obtain a favorable, results-oriented report, and to assist •.1"),:::endant in severely

                        underpaying and/or denying Plaintiff's damage claim (TEX. BUS. & COM. CODE §

                        17.46(31)).

52. As described in this Original Petition, Defendant Liberty Muth. 1 Insurance Corporation represented to

    Plaintiff that their Policy and Liberty Mutual Insurance Co1,7'.;ration's adjusting and investigative services

    had characteristics or benefits that it actually did       have, which gives Plaintiff the right to recover

    proceeds. TEX. BUS. & COM. CODE § 17.46(bA5).

53. As described in this Original Petition, l';fendant Liberty Mutual Insurance Corporation represented to

    Plaintiff that their Policy and Libert, ivlutual Insurance Corporation's adjusting and investigative services

    were of a particular standard, •icality, or grade when they were of another, which stands in violation of §

    17.46 (b)(7).

54. By Defendant Lit ), Mutual Insurance Corporation representing that they would pay the entire amount

    needed by i' .ntiff to repair the damages caused by the weather related event and then not doing so,

    Defendant has violated §§ 17.46 (b)(5), (7), (12).




Plaintiff Tim &Any Mintner's Oliginal Petition                                                         Page 1 13
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 15 of 39




55. Defendant Liberty Mutual Insurance Corporation has breached an express warranty that the damage

    caused by the storm-related event would be covered under Policy. This breach entitles Plaintiff to recover

    under §§ 17.46 (b) (12), (20); 17.50 (a)(2).

56. Defendant Liberty Mutual Insurance Corporation's actions, as described herein, are unconscionable in

    that Defendant took advantage of Plaintiff's lack of knowledge, ability, and expel    e to a grossly unfair

    degree. Therefore, Defendant's unconscionable conduct gives Plaintiff the right to relief under §

    17.50(a)(3).

57. Defendant Liberty Mutual Insurance Corporation's conduct, acts, ,,missions, and failures, as described in

    this Original Petition, are unfair practices in the business •s insurance and are in violation of § 17.50

    (a)(4).

58. Plaintiff is a consumer, as defined under the I) IPA, and relied upon these false, misleading, and/or

    deceptive acts and/or practices, made bc' Defendant Liberty Mutual Insurance Corporation, to their

    detriment. As a direct and proxiira- esult of Defendant's collective acts and conduct, Plaintiff has been

    damaged in an amount in exce s of the minimum jurisdictional limits of this Court, for which Plaintiff

    now sues. All of the afcsismentioned acts, omissions, and failures of Defendant are a producing cause of

    Plaintiff's damage which are described in this Original Petition.

59. Because Der-,.dant's collective actions and conduct were committed knowingly and intentionally, in

    addition to all damages described herein, Plaintiff is entitled to recover mental anguish damages and

    additional penalty damages, in an amount not to exceed three times such actual damages. § 17.50(b)(1).




Plaintiff Tina &Artg Mintner's Original Petition                                                    Page 1 14
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 16 of 39




60. As a result of Defendant's unconscionable, misleading, and deceptive actions and conduct, Plaintiff has

    been forced to retain the legal services of the undersigned attorneys to protect and pursue these claims on

    their behalf. Accordingly, Plaintiff also seeks to recover their costs and reasonable and necessary

    attorneys' fees as permitted under § 17.50(d), as well as any other such damages to which Plaintiff may

    show themselves to be justly entitled by law and in equity.


                        VIOLATIONS OF THE TEXAS INSURANCE CODE

61. Plaintiff hereby incorporates by reference all facts and circumstan^.c.,:.: set forth within the foregoing

    paragraphs.

62. Defendant and/or its assigned adjuster's actions constitute -iulations of the Texas Insurance Code ("TEX.

    INS. CODE"), Chapters 541 and 542, including but not limited to:

                  A. Misrepresenting to Plaintiff per ::.tent facts or policy provisions relating to the coverage

                       at issue (§ 541.060(a)(1));

                  B. Failing to attempt, :iC• food faith, to effectuate a prompt, fair and equitable settlement of

                       a claim with '.--srect to which the insurer's liability has become reasonably clear (TEX.

                       INS. CODE § 541.060(a)(2)(A));

                  C.      Ling to promptly provide to a policyholder a reasonable explanation of the basis in the

                       policy, in relation to the facts or applicable law, for the insurer's denial of a claim or for

                       the offer of a compromise settlement of a claim § 541.060(a)(3).);




Plaintiff Tim &Ang Mintner's Original Petition                                                            Page 1 15
     Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 17 of 39




                  D. Failing to affirm or deny coverage of Plaintiff's claim within a reasonable time and


                      failing within a reasonable time to submit a reservation of rights letter to Plaintiff ( §


                      541.060(a)(4));


                 E. Refusing, failing, or unreasonably delaying a settlement offer on the basis that other


                      coverage is available (§ 541.060 (a)(5));


                 F. Refusing, to pay a claim without conducting a reasonable investigation with respect to


                      the claim (§ 541.060(a)(7));


                 G. Forcing Plaintiffs to file suit to recover amouni,, ae under the policy by refusing to pay


                      all benefits due (§ 542.003(b)(5));


                 H. Misrepresenting an insurance policy by failing to disclose any matter required by law to


                      be disclosed, including a failure to make such disclosure in accordance with another


                      provision of this code (§-S41.061(5));


                 I.   Engaging in false misleading, and deceptive acts or practices under the DTPA


                      (§541.151(2;):


                 J. Failing lc pay a valid claim after receiving all reasonably requested and required items


                      f ,hn the insured. (§ 542.058(a)).


63. By its acts, t). ssions, failures and conduct, Defendant Liberty Mutual Insurance Corporation has engaged


    in unfair and deceptive acts and practices in the business of insurance. Plaintiff, the insured and


    beneficiary, has a valid claim as a result of their detrimental reliance upon Defendant Liberty Mutual


    Insurance Corporation's unfair or deceptive acts or practices. § 541.151(2).



Plaintlff Tim &Any Mintner's Original Petition                                                       Page 116
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 18 of 39




64. Defendant's aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover amounts due

    under the Policy, by offering substantially less than the amount ultimately recovered. Defendant refused

    to offer more than the grossly undervalued estimates prepared by Defendant Liberty Mutual Insurance

    Corporation and/or Defendant's assigned adjuster, despite knowing the actual damages were much greater

    than what was offered. Defendant's continued refusal to offer compelled Plaintiff       ± le suit. § 542.003(5).

65. Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because Defendant

    Liberty Mutual Insurance Corporation's actions and conduct \,, ,,re committed knowingly and

    intentionally, Plaintiff is entitled to recover, in addition to all d   ,ages described herein, mental anguish

    damages and additional penalty damages, in an amount n            Lo exceed three times the amount of actual

    damages, for Defendant having knowingly, intentio_ fi:ly and/or negligently committed said actions and

    conduct. § 541.152.

66. As a result of Defendant Liberty Mutrpl Insurance Corporation's unfair and deceptive actions and

    conduct, Plaintiff has been forced        tain the legal services of the undersigned attorneys to protect and

    pursue these claims on their be r) AU- Accordingly, Plaintiff also seeks to recover their costs and reasonable

    and necessary attorneys' fees as permitted under TEX. BUS. & COM. CODE § 17.50(d) or TEX. INS.

    CODE § 541.152 11.d any other such damages to which Plaintiff may show themselves justly entitled by

    law and in 6,:1,


                             BREACH OF THE COMMON LAW DUTY
                               OF GOOD FAITH & FAIR DEALING

67. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.




Plaintiff Tim 'Any Mintner's Original Petition                                                           Page 17
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 19 of 39




68. By its acts, omissions, failures and conduct, Defendant Liberty Mutual Insurance Corporation has

    collectively and individually breached the common law duty of good faith and fair dealing by conducting

    a results oriented investigation, inadequately adjusting Plaintiff's claim without any reasonable basis, and

    failing to conduct a reasonable investigation to determine whether there was a reasonable basis for the

    (denialof Plaintiff's covered loss.

69. Defendant Liberty Mutual Insurance Corporation has also breached the common law duty of good faith

    and fair dealing by unreasonably delaying payment of Plaintiff's en0 re claim and by failing to settle

    Plaintiff's claim, as Defendant knew, or should have known, it `V.:. reasonably clear that Plaintiff's storm-

    related claims were covered. These acts, omissions, failure, and conduct by Defendant are a proximate

    cause of Plaintiff's damages.


                                                   KNOWLEDGE

70. Each of the acts described above, together arid singularly, were done "knowingly" and "intentionally," as

    the terms are used in the Texas Ins'1, ance Code, and were a producing cause of Plaintiff's damages

    described herein.


                                                    DAMAGES

71. Plaintiff will shots, That all of the aforementioned acts, taken together or singularly, constitute the

    producing caows of the damages sustained by Plaintiff.

72. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff's bargain, which is the amount

    of Plaintiff's claim, together with attorneys' fees.




Plaintiff Tim e Amy Milliner's Original Petition                                                        Page 1 18
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 20 of 39




73. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is entitled to

    actual damages, which include the loss of the benefit that should have been paid pursuant to the Policy,

    court costs and attorneys' fees. For knowing conduct of the acts complained of, Plaintiff asks for three

    times Plaintiff's actual damages. TEX. INS. CODE § 541.152.

74. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Pl9inciff is entitled to the

    amount of Plaintiff's claim, as well as eighteen (18) percent interest per ann'im of the amount of Plaintiffs

    claim as damages, together with attorneys' fees. § 542.060.

75. For breach of the common law duty of good faith and fair deal 5, Plaintiff is entitled to compensatory

    damages, including all forms of loss resulting from the inst,—.,r's breach of duty, such as additional costs,

    economic hardship, losses due to nonpayment of the mount the insurer owed, and/or exemplary damages

    for emotional distress.

76. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the services of the

    law firm whose name is subscribed tv this pleading. Therefore, Plaintiff is entitled to recover a sum for

    the reasonable and necessary services of Plaintiffs attorneys in the preparation and trial of this action,

    including any appeals -w Lae Court of Appeals and/or the Supreme Court of Texas.

77. Defendant's acts      ie been the producing and/or proximate cause of damage to Plaintiff, and Plaintiff

    seeks an attic,'1t in excess of the minimum jurisdictional limits of this Court.

78. More specifically, Plaintiff seeks monetary relief, including damages of any kind, penalties, costs,

    expenses, pre judgment interest, and attorneys' fees, (in excess of $200,000.00 but less than

    $1,000,000.00).



Plaintiff Tim &Any Mintner's Original Petition                                                        Page 19
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 21 of 39




                              ADDITIONAL DAMAGES & PENALTIES

79. Defendant's conduct was committed knowingly and intentionally. Accordingly, Defendant is liable for

    additional damages under the DTPA, TEX. BUS. & COM. CODE § 17,50(b)(1), as well as all operative

    provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the 18% damages allowed under

    TEX. INS. CODE § 542.060.


                                            ATTORNEY'S FEES

80. In addition, Plaintiff is entitled to all reasonable and necessary attorn -) s' fees pursuant to the Texas

    Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE §§                J8.001-.005..



                                          COMPEL MEDIATION

81. Pursuant to TEX. INS. CODE § 541.161 and TEX. B1 & COM. CODE § 17.5051, Plaintiff requests

    that Defendant be made to mediate no later than        30th day of the signed order, following the 90th day

    after the date for which this pleading for rc filet is served upon Defendant.


                                                 JURY DEMAND

82. Plaintiff demands a jury trial, consisting of citizens residing in Travis County, Texas, and tenders the

    appropriate fee with this 0.:kinal Petition.


                                                 DISCOVERY

83. Texas Rule of C.v. I Procedure 47 has been met in this petition. As such, Plaintiff requests that Defendant

    respond to the Requests for Disclosure, Requests for Production and Interrogatories contained herein:




Plaintiff Tim &Amy Mintner's Original Petition                                                       Page 120
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 22 of 39




                                    1. REQUESTS FOR DISCLOSURE

     1. Pursuant to the Texas Rules of Civil Procedure, Plaintiff request that Defendant Liberty Mutual


         Insurance Corporation, disclose all information and/or material as required by Rule 194.2, paragraphs


         (a) through (1), and to do so within 50 days of this request.


                                   II. REQUESTS FOR PRODUCTION

    1. Please produce Liberty Mutual Insurance Corporation's complete claim file., from the home, regional


         and local offices, as well as third party adjusters/adjusting firms regai.d1ng the subject claim, including


         copies of the file jackets, "field" files and notes, and drafts of documents contained in the file for the


         premises relating to or arising out of Plaintiff's underl in claim.


    2. Please produce the underwriting files referring or .relating in any way to the policy at issue in this


         action, including the file folders in which th underwriting documents are kept and drafts of all


         documents in the file.


    3. Please produce a certified copy            the insurance policy pertaining to the claim made subject of this


         lawsuit, including all under, riting files and insurance applications sent on behalf of Plaintiff in their


         attempt to secure insui ,:ace on the Property, which is the subject of this suit.


    4. Please produce         electronic diary, including the electronic and paper notes made by Liberty Mutual


         Insuranc    Corporation's claims personnel, contractors, and third party adjusters/adjusting firms


         relating to the Plaintiff's claim.


    5. Please produce all emails and other forms of communication by and between all parties in this matter


         relating to the underlying event, claim or the Property, which is the subject of this suit.




Plainttff Tim' &Amy Mintner's Original Petition                                                          Page I 21
       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 23 of 39




     6. Please produce the adjusting reports, estimates and appraisals prepared concerning Plaintiff's


            underlying claim.


     7. Please produce the field notes, measurements and file maintained by the adjuster(s) and engineers


            who physically inspected the Property, which is the subject of this suit.


     8. Please produce the emails, instant messages and internal correspondence mnaining to Plaintiff's


            underlying claim.


     9. Please produce the videotapes, photographs and recordings of Plait.tuf or Plaintiff's home, regardless


            of whether Liberty Mutual Insurance Corporation intends to her these items into evidence at trial,


     10. Please produce all communications, correspondence,              Jcuments and emails between any and all


            assigned adjusters and/or agents and the Plaintif , not limited to physical or audio recordings of all


            conversations between Plaintiff and any and all assigned adjusters and/or agents.


     11. Please produce all audio recordings c: transcripts of conversations, calls, text, email or any other data


            sent to and from Plaintiff by aily and all assigned adjusters and/or agents after their letter of


            representation sent by cot. n ;et.


     12. Please provide corks of all marketing material sent on behalf of Liberty Mutual Insurance


            Corporation )(;'or its agents after the date of loss of the Property, which is the subject of this suit,


     13. Please vis vide all correspondence between Liberty Mutual Insurance Corporation and its assigned


            adjuster, and all correspondence between Liberty Mutual Insurance Corporation and its assigned


            agents, after the date of loss of the Property, which is the subject of this suit.




Plaintiff      &Any Mintner's Original Petition                                                             Page I 22
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 24 of 39




                                          III. INTERROGATORIES

    1. Please identify any person Liberty Mutual Insurance Corporation expects to call to testify at the time


         of trial.


    2. Please identify the persons involved in the investigation and handling of Plaintiff's claim for insurance


         benefits arising from damage relating to the underlying event, claim or the lr9perty, which is the


         subject of this suit, and include a brief description of the involvement of each person identified, their


         employer, and the date(s) of such involvement.


    3. If Liberty Mutual Insurance Corporation or Liberty Mutual'nsurance Corporation's representatives


         performed any investigative steps in addition to what s i eflected in the claims file, please generally


         describe those investigative steps conducted by Liberty Mutual Insurance Corporation or any of


         Liberty Mutual Insurance Corporation's re I 'esentatives with respect to the facts surrounding the


         circumstances of the subject loss. Identify the persons involved in each step.


    4. Please identify by date, author            RI result the estimates, appraisals, engineering, mold and other


         reports generated as a resu     f Liberty Mutual Insurance Corporation's investigation.


    5. Please state the follwving concerning notice of claim and timing of payment:


         a.          The (1..tt. and manner in which Liberty Mutual Insurance Corporation received notice of the


claim;


         b.          The date and manner in which Liberty Mutual Insurance Corporation acknowledged receipt


of the claim;




Plaintiff Tim &Ang Milliner's Original Petition                                                         Page   I   23
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 25 of 39




         c.       The date and manner in which Liberty Mutual Insurance Corporation commenced


investigation of the claim;


         d.       The date and manner in which Liberty Mutual Insurance Corporation requested from the


                  claimant all items, statements, and forms that Liberty Mutual Insurance Corporation


                  reasonably believed, at the time, would be required from the cln.nant pursuant to the


                  investigation; and


         e.       The date and manner in which Liberty Mutual Insurance Corporation notified the claimant in


                  writing of the acceptance or rejection of the claim.


    6. Please identify by date, amount and reason, the insurm,:-., proceeds payments made by Defendant, or


         on Defendant's behalf, to the Plaintiff.


    7. Has Plaintiff's claim for insurance benefits been rejected or denied? If so, state the reasons for


         rejecting/denying the claim.


    8. When was the date Liberty                 Insurance Corporation anticipated litigation?


    9. Have any documents (its'i cuing those maintained electronically) relating to the investigation or


        handling of Plainti     s claim for insurance benefits been destroyed or disposed of? If so, please


        identify what, k, hen and why the document was destroyed, and describe Liberty Mutual Insurance


        Corpora:iv n s document retention policy.


    10. Does Liberty Mutual Insurance Corporation contend that the insured's premises were damaged by


        storm-related events and/or any excluded peril?           If so, state the general factual basis for this


        contention.



Plaintiff Tim &Any Mintner's Original Petition                                                         Page 124
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 26 of 39




    11, Does Liberty Mutual Insurance Corporation contend that any act or omission by the Plaintiff voided,


         nullified, waived or breached the insurance policy in any way? If so, state the general factual basis for


         this contention.


    12, Does Liberty Mutual Insurance Corporation contend that the Plaintiff failed to satisfy any condition


         precedent or covenant of the Policy in any way? If so, state the general factual basis for this


         contention.


    13. How is the performance of the adjuster(s) involved in handling Plaintiff's claim evaluated? State


         what performance measures are used and describe Liberty iv.} i.ual Insurance Corporation's bonus or


         incentive plan for adjusters.


                                                CONCLUS7,0N

84. Plaintiff prays that judgment be entered against L. - 1'endant Liberty Mutual Insurance Corporation and that


    Plaintiff be awarded all of their actual damages, consequential damages, prejudgment interest, additional


    statutory damages, post judgment in c-‘,est, reasonable and necessary attorneys' fees, court costs and for


    all such other relief, general o' specific, in law or in equity, whether pled or un-pled within this Original


    Petition.


                                                   PRAYER

         WHERE7.701tE, PREMISES CONSIDERED, Plaintiff prays they be awarded all such relief to which


they is due as a result of the acts of Defendant Liberty Mutual Insurance Corporation, and for all such other


relief to which Plaintiff may be justly and rightfully entitled. In addition, Plaintiff requests the award of treble


damages under the Texas Insurance Code, attorneys' fees for the trial and any appeal of this lawsuit, for all




PlainhffTim &Any Mintner's Ofiginal Petition                                                             Page I 25
      Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 27 of 39




costs of Court on their behalf expended, for pre judgment and post judgment interest as allowed by law, and

for any other and further relief, either at law or in equity, to which Plaintiff may show the themselves to be

justly entitled.


                                                  RESPECTFULLY SUBMITTED,

                                                  /S/Dem.k.L.Fadar
                                                  MCCLENNY MOSELEY 8c A 500CIATES, PLLC
                                                  James M. McClenny
                                                  State Bar No. 24091857
                                                  J. Zachary Moseley
                                                  State Bar No. 240928, )
                                                  Derek L. Fadner
                                                  State Bar No. 24100081
                                                  411 N. Sam Hoc,;ton Parkway E„ Suite 200
                                                  Houston, TcX.7s 77060
                                                  Principal ()Tax No. 713-334-6121
                                                  Facsirn;I( ';13-322-5953
                                                  JameF(:!:11Maa-pliC,COM
                                                  Zac1.;;:2mtna-pilc,com


                                                  ATTORNEYS FOR PLAINTIFF




Plaintiff Tim 'Amy Mintner's Otinal Petition                                                        Page I 26
                    Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 28 of 39

                                               CIVIL PROCESS REQUEST

                           FOR EACH PARTY SERVED you MUST FURNISH ONE (1) COPY OF THE. PLEADING:
               ,7         FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PEEL PARTY TO BE SERVED

CASE NUMBER:                                                CURRENT COURT:

TYPE OF INS FRUIVIENT TO BE SERVED (See Reverse For Types): Original Petition

FILE DATE OF MOTION: 09/30/2016
                                                                 Month/           Day/          Year
SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
1. NAME: LIBERTY MUTUAL INSURANCE CORPORATION
     ADDRESS:    211 East 7th Street Suite 620, Austin TX 78701 -3218
   AGENT, (if applicable): Corporation Service Company
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): Citation
     SERVICE BY (check one):
        O ATTORNEY PICK-UP                          0 CONSTABLE
        O CIVIL PROCESS SERVER - Authorized Person to Pick-up:                                                    Phone:
        O MAIL                                      t54 CERIIFIED New
        O PUBLICATION:
             Type of Publication:   COURTHOUSE DOOR, or
                                  0 NEWSPAPER OF YOUR CB')ICE:
        O OTHER, explain
*************************************************                *    *******   ** * * **   * * * *** * ** ****   ************ ** *   ****



****

2. NAME:
     ADDRESS:
     AGENT, (if applicable):
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type):
     SERVICE BY (check one):
        O ATTORNEY PICK-UP                                  0 CONSTABLE
           O CIVIL PROCESS SERVE - Authorized Person to Pick-up:                                             Phone:
           O MAIL                                           0 CERTIFIED MAIL
           O PUBLICATION:
              Type of Publi',:tion:     0 COURTHOUSE DOOR, or
                                        0 NEWSPAPER OF YOUR CHOICE:
           O   OTHER, explain



ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME: Derek Fadner                                                   TEXAS BAR NO./1D NO. 24100081
MAKING ADDRESS: 411 N. Sam Houston Pkwy E., Suite 200, Houston, TX 77060
PHONE NUMBER: 713                       334-6121                          FAX NUMBER:          713          322-5953
                           area code         phone number                                       area code            fax number

EMAIL ADDRESS: Dere k@mma-plIc.com


                                                            Page 1 of 2
OTITOTA0       n/') /nn
                 Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 29 of 39
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s   • SERVICE REQUESTS •WHICI-I CANNOT BE pRocpsspy BY THIS OFFICE.WILLILL. BE HELD •FOR.30 PAYS PRIOR TO
      CANCELLATION..:. FEES WILL BE REFUNDED 'ONLY UPON•REQUEST; OR Nr         DISpOSITION1pF TapeAsa.•:.
      SERRVICE REQUESTS MAYBE REINSTATED UPON APPROPRIATEACTION py.1-14pwa-grps;.




INSTRUMENTS TO BE SERVED:                                                     PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)

CM
 -7917AI PE1.7.1)
    -----AENDED PETITION                                                      ALIAS CITATION
         SUPPLEMENTAL PETITION                                                PLURIES CITATION
                                                                              SECRETARY OF STATE CI I ATION
                                                                              COMMISSIQI 1.1-7R OF INSURANCE
COUNTERCLAIM                                                                  HIGHWAY COMMISSIONER
      AMENDED COUNTERCLAIM                                                    CTTAT. iN BY PUBLICATION
      SUPPLEMENTAL COUNTERCLAIM                                               NOTICE
                                                                              SHU7.1' FORM NOTICE
CROSSACTION:
      AMENDED CROSS-ACTION                                                    PREttYr (SHOW CAUSE)
      SUPPLEMENTAL CROSS-ACTION                                               RULE 106 SERVICE

THIRD-PARTY PETITION:                                                         SUBPOENA
       AMENDED THIRD-PARTY PE I1110N
       SUPPLEMENTAL THIRD-PARTY PE11I ION                                     WRITS:
                                                                              ATTACHNIENT (PROPERTY)
INTERVENTION:                                                                 ATACHMENT (WITNESS)
       AMENDED INTERVENTION                                                   ATTACHMENT (PERSON)
       SUPPLEMENTAL INTERVENTION

INTERPLEADER                                                                  CERTIORARI
       AMENDED INTERPLEADER
       SUPPLEMENTAL INTERPLEADER                                              EXECUTION
                                                                              EXECUTION AND ORDER OF SALE

                                                                              GARNISHMENT BEFORE JUDGMENT
INJUNCTION                                                                    GARNISHMENT AFTER JUDGMENT
MOTION TO MODIFY
                                                                              HABEAS CORPUS
SHOW CAUSE ORDER                                                              INJUNCHON
                                                                              TEMPORARY RESTRAINING ORDER
TEMPORARY RESTRAINING ORDF2•
                                                                              PROTECTIVE ORDER (FAMILY CODE)
                                                                              PROTECTIVE ORDER (CIVIL CODE)

BILL OF DISCOVERY:
    ORDER TO:                                                                 POSSESSION (PERSON)
                                      (specify)                               POSSESSION (PROPERTY)
      MOTION TO:
                                      (specify)
                                                                              SCIRE FACIAS
                                                                              SEQUESTRATION
                                                                              SUPERSEDEAS




                                                            Page 2 of 2

OTITOT/10     OPI mn
                       Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 30 of 39
                                                                            CIVIL CASE INFORMATION SIDZZT

             CAMP:•NI:WEBER (FOR CLERK USE ONLY);                                                                         COURT (FOR CLERK OStf ONL Y):

                 STyLED TIM & AMY MINTNER V. LIBERTY MUTUAL INSURANCE CORPORATION
                                   (e.g., John Smith v. All American Insurance Co; tore Mary Ann Jones; In the Matter of the F4tetc of agorae Jackson)
   A Civil case infonnatiOn sheet mast lru completed and submitted when an Original petition or npplication is filed to initiate anew civil, family law, probate, or mental
   health case Or when a post-judgment petition for modification or motion for enforcement is filed In a family law case. The information should be the best available at
   the time of filing.
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                                                                                                                                                     IRIAttorney for:Plaintiff/Petitioner
  Name:                                       Email:.                                    Plaintiff(s)/Petitioner(s):                                 OPro Se Plaintiff/Petitioner
                                                                                          TIM    &   AMY     MINTNER                                 0 Title IV-11 Agency
   Derek L Fadner
  __                                           Derek@rnma-plle.com                                                                                   °Other:

 Address: •                                         Telephone:
                                                                                                                                                                   Additional Parties in Child Support Case:
  411 N, Sam Houston Pkwy, P;..                         7.13-344-0121
                                                          .                                                                                                              •.:
                                                                                                Defendent(s)/1(espondent(s):                                       CusIstliAil Parent:
 City/StatefLlo                                     .Fax:
                                                                                                  LIBERTY MUTUAL                                                   '''f''''
  Suite 200,Houston, TX 0060                         713-322-5951                                                                                                  Non-Custodial Parent:                                                   I.
                                                                                                 INSURANCE_                                                    4
 Signature;                                         State Bar No::
                                                                                                 CORPORATION                                    __,t-, .           Presumed Father:
! ir424.444 L. fild14,/,                            .24100081                                                                                    ,...- r..,)                                                                               i
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 Debt/Contract                             Assault/Battery                  Eigninent Domain/                       ' '                    Annulment                                                    Enforcement                         i
   SConsumer/DTPA                       OConstruotion                          Condemnation                                         °Declare. Marriage Void                                       III Modification—Custody                  1
    III Debt/Contract                   NI Defamation                       °Partition                                              Divorce                                                       1:ModificAtion—Other                      {
                                                                            ©Quiet Title                                                   ©With Children                                                .,--
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    ©Home Equity----Expedited.            °Other Professional                              ..: ,..,                                                                                              °Support. Order
   ['Other               ForeclOstire         Liability:
 °Franchise                                                                  .' licluteir to.CtIrnbial:-                           •            . . .. ;:.,• ...,.y , ,           ... ., ;.:', „. '  , •
 °Insurance                             OtvietorVehtcle Accident             . ;!.::, • •-•Mattits :::-. ,'.,-,:...: ..'           .,•:,-,..-Othar Fititillilia02, •     . ';'. 01ieentreltIlilftelaiithitiW
 OLancllorefenant                       OPremises                        ---ClExltinction                                           liEnforce Foreign                   . OAdoption/Adoption with
 I:Non-Competition                      Product Liability                   °Judgment Nisi                                                   Judgment                            Termination.
 OPartherthip                             OAsbcstos/Silica                 :nNon-Disclosure.                                        °Habeas Corpus                          °Child PrOtection
 []Other Contract:                        00ther. Product Liability         OSeizurc/Forfoiture                                     0Name Change                            OChild Support
                                              List Product:            •  . °Writ of Habeas Corpus---.                              ©Protective Order                       ['Custody or Visitation
                                                                               Pre-indictment.                                      ORemovatof Disabilities                 °Gestational Parenting
                                        []Other Injury: r Damage.           °Other _________ _                         _                    of Minority                     °Grandparent Access
                                                                                                                                    °Other:                                 OPareWageraternity               I
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           ,m lo • went '                                              • Gillet Civil: I.      • . .,                                                                      .00therParent-Ohild:
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  ODiscrimi nation                            0AdminlatraFA/c Appeal              °Lawyer Discipline
  °Retaliation                                °Antitrust'', infair                °Perpetuate "festimony
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  °Workers' Compensation                     .0Code,C:piations                    Grunions interference
  °Other Employment:                         .0F,,:,,r,,;:i Judgment              °Other:
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                   tiii                             .       .           .                                 Probate & Mental Health
 -0Tax Appraisal                             Probate:Mills/Intestate 'Administration                                Crbuardianship—Adult.
   °Tax Delinquency                            OPependent Administration                                            DO nard ianship—Minor
   Dottier Tax                                 El Independent Administratien                                        °Mental Health
                                               °Other Estate Proceedings                                            °Other:
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1 *Appeal from Municipal or Justice Court.                       Declaratory         Judgment                                       Prejudgment  Remedy
   °Arbittation4elated                                        1:Garnishment                                                      SI Protective Order
' OAttachment                                                 1:11nterpleader                                                    OReceiver
   OBilli of lieview                                          OLiconse                                                           °Sequestration
   °Certiorari                                                OMandtunus                                                         (]Temporary Restntining Order/injunction
   C3class Action                                             °Post-judgment                                                     []Turnover
                                           ___                                                                               . .• • .. •. " r•        ••• ..   • • -•
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   °Less than $100;000, including.damages•of any kind, penalties, costs, expenses, pre..-Judgment interest, and attorney fees
    • Less than $100,000 and non-monetary relief
   Dover $100, 000 but not more than $200,000
   1:81 Over $200,000 but not more than $1,000,000
   °Over
   —...._. $1.,. __ 000.000
                       .. - ._         ___. __ . . ......... ...         — .                                    _.    .                4""'''''''"*'1''''''"'''''"'IrATITIT"''
              Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 31 of 39


                                                   CITATION
                                       THE       STATE          OF     TEXAS
                                            CAUSE NO. D-1-GN-16-004967

TIM & AMY MINTNER
                                                                                                  , Plaintiff
     vs.
LIBERTY MUTUAL INSURANCE CORPORATION
                                                                                                  , Defendant

TO:   LIBERTY MUTUAL INSURANCE CORPORATION,
      BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      211 EAST 7TH STREET, SUITE 620
      AUSTIN, TEXAS 78701-3218
                                                    CERTIFIED MAIL# 7014 349( '3000 6725 4110

Defendant, in the above styled and numbered cause:
                                                                                       4
YOU HAVE BEEN SUED, You may employ an attorney. If you or your al_'- orney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on .he Monday next following the
expiration of twenty days after you were served this citation ami :etition, a default judgment may
be taken against you.

Attached is a copy of the TIM & AMY MINTNER'S ORIGINAL PETITION of the PLAINTIFFS in the above
styled and numbered cause, which was filed on SEPTEMBER 30, 2d-6 in the 419TH JUDICIAL DISTRICT
COURT of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office Ocu,:,,T 04.2016.

REQUESTED BY:
DEREK LEE FADNER
411 N. SAM HOUSTON PARKWAY E., STE. 200
HOUSTON, TX 77060                                                          Velva L. Price
BUSINESS PHONE:(713)334-6121 FAX:(713)322-5953                             Travis County District Clerk
                                                                           Travis County Courthouse
                                                                           1000 Guadalupe, P.O. Box 679003 (78767)
                                                                           Austin, TX 78701
                                                                           PREPARED BY: HERNANDEZ KIRBY A


Came to hand on the 30TH          day of       SEPTEMBER     ,     2016   at 10:30 o'clock       A.M., and
executed at     211 EAST 7TH STREET, SUITS 620, AUSTIN, TEXAS 78701-3218   within the County of
     TRAVIS      on the 30TH        day of        SEPTEMBER    ,     2016   at 10:30 o'clock       A.M.,
by delivering to the within named 1,:BERTY MUTUAL INSURANCE CORPORATION, BY SERVING ITS REGISTERED AGENT,
CORPORATION SERVICE COMPANY,211 EAS iTH STREET, SUITE 620, AUSTIN, TEXAS 78701-3218, VIA CERTIFIED MAIL, a
true copy of this citation to(,9ther with the PLAINTIFF TIM & AMY MINTNER'S ORIGINAL PETITION
accompanying pleading, having Zirst attached such copy of such citation to such copy of                ing
and endorsed on such copy of,,:itation the date of delivery.

Service Fee: $      75.00

Sworn to and subscrit9,J before me this the

                                                                     By:KIRBY A. HERNANDEZ,
       day of                                                          aErVI1( DISTRICT CLERK
                                                                     Printed Name of Server


                                                                       TRAVIS       County, Texas
Notary Public, THE STATE OF TEXAS

D-1-GN-16-004967                                   DISTRICT CLERK CERTIFIED MAIL                    P01 - 000045121
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Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 32 of 39
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                                                                   ORIGINAL PETITION
                           Total Postage & Fees      $                 DF-1 (KAR)

                LIBERTY MUTUAL INSURANCE CORPORATION
             rq c/0 ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
                211 EAST 7TH STREET, SUITE 620
                AUSTIN, TEXAS 78701-3318


                          PS Form 3800, July 2014                   See Reverse for Instructions
            Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 33 of 39

                                                                                                         oz::.7..i-:$tA Court
                                                                                              of Travis Cou           Texas
                                                    CITATION
                                        THE       STATE         OE      TEXAS                      OCT 0 5 2016 F)
                                                                                                                 1(
                                             CAUSE NO. D-1-GN-16-004967
                                                                                            Velva Z..
                                                                                                             /0 MAm.
TIM & AMY MINTNER                                                                                            Oistrict Clerk     •
                                                                                                    , Plaintiff
     vs.
LIBERTY MUTUAL INSURANCE CORPORATION
                                                                                                    , Defendant

TO:   LIBERTY MUTUAL INSURANCE CORPORATION,
      BY SERVING ITS REGISTERED AGENT, CORPORATICN SERVICE COMPANY
      211 EAST 7TH STREET, SUITE 620
      AUSTIN, TEXAS 78701-3218
                                                    CERTIFIED MAIL# 7014 3490 ..'POO 6725 4110

Defendant, in the above styled and numbered cause:

YOU HAVE BEEN SUED, You may employ an attorney. If you or your att..,.:ney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on         Monday next following the
expiration of twenty days after you were served this citation and pktition, a default judgment may
be taken against you.

Attached is a copy of the TIM & AMY MINTNER'S ORIGINAL PETITION ot the PLAINTIFFS in the above
styled and numbered cause, which was filed on SEPTEMBER 30, 20   in the 419TH JUDICIAL DISTRICT
COURT of Travis County, Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL or said Court at office. Octo'+er 04.2016.

REQUESTED BY:
DEREK LEE FADNER
411 N. SAM HOUSTON PARKWAY E., STE. 200
HOUSTON, TX 77060                                                       Velva L. Price
BUSINESS PHONE:(713)334-6121 FAX:(713)322-5953                           Travis County District Clerk
                                                                         Travis County Courthouse
                                                                         1000 Guadalupe, P.O. Box 679003 (78767)
                                                                         Austin, TX 78701
                                                                         PREPARED BY: HERNANDEZ KIRBY A


Came to hand on the 30TH          day of          SEPTEMBER     ,    2016    at 10:30 o'clock _A.M          and
executed at     211 EAST 7TH STREET, SUIT_; S20, AUSTIN, TEXAS 78731-3218     within the County of       "
     TRAVIS      on the 30TH        day 'f          SEPTEMBER     ,     2016    at 10:30 o'clock        A.M.,
by delivering to the within named 1.1-.61RTY MUTUAL INSURANCE CORPORATION, BY SERVING :TS REGISTERED AGENT,
CORPORATION SERVICE COmPANY,211 EAST ."'t.' STREET, SUITE 620, AUSTIN, TEXAS 7870:-321R, VIA ('ERTIFIED MAIL, a
true copy of this citation toge*.hr with the PLAINTIFF TIM & AMY MINTNER'S ORIC:NAL PETITION
accompanying pleading, having first attached such copy of such citation to such copy of                     ing
and endorsed on such copy of .'.tation the date of delivery.

Service Fee: $      75.00

Sworn to and subscriber' ;;efore me this the

                                                                     By:EIRWAAVERNANDEZ,
       day of                                                          DEPLUTIMITIOCCUEFUK
                                                                     Printed Name of Server


                                                                        TRAVIS       County, Texas
Notary Public, THE STATE OF TEXAS

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                       PS Form 3800, July 2014                   See Reverse for Instructions
Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 35 of 39


     SENDER: COMPLETE THIS SECTION                                 COMPLETE THIS SECTION ON DEL!"..TAY

     • Complete items 1, 2, and 3. Also complete                   A. Signature oe
       item 4 if Restricted Delivery is desired.                               d                             U Agent
   • • Print your name and address on the reverse                  X                                         0 Addressee I
       so that we oan return the card to you.                      B. Received by (Printed Name)         0, Date of Delivery
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      CM ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
      211 EAST 7TH STREET, SUITE 620
    j AUSTIN, TEXAS 78701-3218


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     Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 36 of 39
                                                                             10/28/2016 4:24:12 PM
                                                                                                  Velva L. Price
                                                                                                 District Clerk
                                                                                                 Travis County
                                 CAUSE NO, D-1-GN-16-004967                                   D-1-GN-16-004967
                                                                                                      Irene Silva
TIM & AMY MINTNER,                                     IN THE DISTRICT COURT
     Plaintiffs

v.                                                     TRAVIS COUNTY, TEXAS

LIBERTY MUTUAL INSURANCE
CORPORATION,
     Defendant                                         419TH JUDICIAL DIST ,<ICT

              DEFENDANT'S ORIGINAL ANSWER AND VERIFIED DENIAL

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Defendant Liberty Mutual Insurance Corporation ("Liberty") and files

this Original Answer and Verified Denial to Plaintiffs Ti & Amy Mintner's Original Petition

and for such would respectfully show the Court the fc 'lowing:


                                       GENER _A DENIAL

        Pursuant to TEx, R, Civ. P, 92, I:Serty denies each and every, all and singular, the

allegations set forth in Plaintiffs Tin, /.:4, Amy Mintner's Original Petition and demands strict

proof thereof by a preponderance of the evidence at the final trial of this case,

                                                 II,
                                      VERIFIED DENIAL

       Pursuant to Tc,6s Rule of Civil Procedure 93, Defendant Liberty Mutual Insurance

corporation denies tnat it is a proper party to this lawsuit on the grounds that it did not issue the

relevant insui,- rce policy in this case. The insurance policy at issue in this lawsuit was issued by

Liberty Insurance Corporation,
    Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 37 of 39




                                    AFFIRMATIVE DEFENSES

         Appraisal, Liberty further avers and asserts that Plaintiffs have failed to satisfy all

conditions precedent to bringing this suit under their homeowners' insurance policy.

Specifically, Liberty reserves its right to invoke the policy's appraisal provision to resolve issues

regarding the amount of loss and denies any intent to waive this right.

         WHEREFORE, PREMISES CONSIDERED, Defendant Liberty Mutual Insurance

Corporation respectfully prays that upon final hearing hereof, Plain,' rfs take nothing by reason of

this action, that Liberty be awarded its costs of court, and           such other and further relief to

which it may show itself justly entitled.

                                                  RespecCilly submitted,

                                                  HA] :NA & PLAUT, L.L.P.
                                                  2 1 1 East Seventh Street, Suite 6000
                                                  Austin, Texas 78701
                                                  Telephone: (512) 472-7700
                                                  Facsimile:      (512


                                                  By:
                                                         Cat
                                                         State Bar No. 08 18280
                                                         Email: channa@hannaplaut,com
                                                         J. Todd Key
                                                         State Bar No. 24027104
                                                         Email: tkey@hannaplaut.com

                                                  ATTORNEYS FOR DEFENDANT




Defendant's Original Answer and Verified Denial                                      Page 2 of 4
    Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 38 of 39




                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been delivered
 by e-service and/or facsimile on this 28th day of October, 2016 to:

Via Facsimile (713) 322-5953
James M, McClenny
J, Zachary Mosely
Derek L. Fadner
McClenny Moseley & Associates, PLLC
411 N, Sam Houston Parkway E,, Suite 200
Houston, Texas 77060
Attorneys for Plaintiffs




Defendant's Original Answer and Verified Denial                                Page 3 of 4
    Case 1:16-cv-01204-DAE Document 1-1 Filed 11/04/16 Page 39 of 39




                                                     VERIFICATION

STATE OF TEXAS

COUNTY OF TRAVIS

        BEFORE ME, the undersigned authority in and for the State of Texas, on this day
personally appeared J, Todd Key known to me to be the same person whose name is subscribed
hereto, who being first duly sworn in the manner provided by law on oath stated that he is duly
qualified to make this affidavit on behalf of Defendant Liberty Mutual Insv (nice Corporation in
the above-entitled and numbered cause, that he has read Paragraph II        Defendant's Original
Answer and Verified Denial and the matters stated therein are within his personal kn wledge and
are true and correct,



                                                             J, Todd

        SUBSCRIBED AND SWORN TO BEFORE MI,„ the undersigned authority, on this the
    --1)--1---V.-__.day of October, 2016, to certify which -witness my hand and official seal of office,


              e.
          b        '''''''' LISA MARIii
                               PETRIE           fi
          g ik,..".Pc: NOTARY PU31.10
                       of(     !DO 003:;-2                   Notary Public in and for the State of Texas
                             State ot
              '40F311".' Comm. Exp,th.4.20.2020
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Defendant's Original Answer and Verified Denial                                         Page 4 of 4
